                       Case 8-16-73309-reg                           Doc 1-4        Filed 07/22/16             Entered 07/22/16 13:52:19


 Fill in this information to identify the case:
 Debtor name          VIATRONIX INCORPORATED

 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                              ❑    Check if this is an
                                                                                                                                                   amended filing


Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                           12/15

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtors property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                         Column A                     Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                     Amount of claim              Value of collateral
                                                                                                                                                      that supports this
                                                                                                                         Do not deduct the value      claim
                                                                                                                         of collateral.
 2.1    Advanced Diversified Tech                     Describe debtor's property that is subject to a lien                         $29,046.47                 unknown
        Creditors Name                                Purported grant of security interest in certain
        2727 W. Bluff Avenue                          intellectual property
        Apt. 109
        Fresno, CA 93711-7012
        Creditors mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        adtgpg@gmail.com                                 No
        Creditors email address, if known            ❑ Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                         No
        See Footnotes to                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ❑ No                                         ❑ Contingent
        511 Yes. Specify each creditor,              ❑ Unliquidated
        including this creditor and its relative     51] Disputed
        priority.
        See Footnotes to
        Schedule D

2.2     Albert I. Hawk                                Describe debtor's property that is subject to a lien                       $663,892.21                  unknown
        Creditors Name                                Purported grant of security interest in certain
        6701 Democracy Blvd                           intellectual property
        Suite 300
        Bethesda, MD 20817
        Creditors mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        bud.hawk@corstone.com                        ❑ No
        Creditors email address, if known                Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                       [itl No
        See Footnotes to                                                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply



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 Debtor        VIATRONIX INCORPORATED                                                                        Case number (if know)
               Name

        ❑    No                                       ❑   Contingent
            Yes. Specify each creditor,               ❑   Unliquidated
        including this creditor and its relative          Disputed
        priority.
        See Footnotes to
        Schedule D

 2.3    Christopher J. Lockwood                       Describe debtor's property that is subject to a lien                            $464,092.16                 unknown
        Creditor's Name                               Purported grant of security interest in certain
                                                      intellectual property
        406 Centennial Circle
        Park City, UT 84060
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        clockwood3@netscape.net                       VI No
        Creditors email address, if known             ❑ Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
        See Footnotes to                                                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
       LJ No                                          ❑   Contingent
           Yes. Specify each creditor,                ❑   Unliquidated
       including this creditor and its relative           Disputed
       priority.
        See Footnotes to
        Schedule D

        Combined Mstr Rtrmnt
 2.4                                                  Describe debtor's property that is subject to a lien                         $2,222,915.56                  unknown
        Trus
        Creditor's Name                               Purported grant of security interest in certain
       5430 LBJ Freeway                               intellectual property
       Suite 1700
       Dallas, TX 75240
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
       enedderman@VALHI.net                           WI No
        Creditor's email address, if known            ❑ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         WI No
       See Footnotes to                              ❑    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ❑    No                                        ❑   Contingent
           Yes. Specify each creditor,                ❑   Unliquidated
       including this creditor and its relative       WI Disputed
       priority.
       See Footnotes to
       Schedule D

2.5    Daniel P. Tully                                Describe debtor's property that is subject to a lien                           $154,416.44                 unknown
       Creditor's Name                                Purported grant of security interest in certain
                                                      intellectual property
       76 Gomez Road
       Hobe Sound, FL 33455
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 8

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 Debtor        VIATRONIX INCORPORATED                                                                   Case number (if know)
               Name

        c.cummings@bankofameri                        Is the creditor an insider or related party?
        ca.com                                            No
        Creditor's email address, if known            ❑ Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        [i] No
        See Footnotes to                              ❑   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
       ❑    No                                        ❑   Contingent
            Yes. Specify each creditor,               ❑   Unliquidated
        including this creditor and its relative      •   Disputed
        priority.
        See Footnotes to
        Schedule D

12.6 Jan F. Jumet                                     Describe debtor's property that is subject to a lien                      $44,659.73   unknown
        Creditor's Name                               Purported grant of security interest in certain
                                                      intellectual property
       3479 Darlington Road
       Darlington, PA 16115
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
       jfjumet@gmail.com                              ❑   No
       Creditor's email address, if known             • Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                         ❑   No
       See Footnotes to                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ❑   No                                         ❑   Contingent
           Yes. Specify each creditor,                ❑   Unliquidated
       including this creditor and its relative      WI Disputed
       priority.
       See Footnotes to
       Schedule D

 2.7   Janet S. Herman, Trustee                       Describe debtor's property that is subject to a lien                 $1,235,670.61     unknown
       Creditor's Name                                Purported grant of security interest in certain
       The Marc Herman Living Tr                      intellectual property
       do Michael Robbins
       4305 NW 63rd Place
       Boca Raton, FL 33496
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
       mrobbins@summitbrokera                         Is the creditor an insider or related party?

       ge.com                                        ❑    No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                        •    No
       See Footnotes to                              ❑    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number


       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply




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 Debtor        VIATRONIX INCORPORATED                                                                    Case number (if know)
               Name

        ❑   No                                        ❑   Contingent
            Yes. Specify each creditor,               H Unliquidated
        including this creditor and its relative      WI Disputed
        priority.
        See Footnotes to
        Schedule D

12.8    Kelly H. Burke, Trustee                       Describe debtors property that is subject to a lien                        $182,980.82                 unknown
        Creditor's Name                               Purported grant of security interest in certain
        Burke Joint Rev. Trust                        intellectual property
        803 Choctaw Lane
        Shalimar, FL 32579
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        kbxel@aol.com                                [2] No
        Creditor's email address, if known            ❑ Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       See Footnotes to                              ❑    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ❑    No                                       ❑    Contingent
           Yes. Specify each creditor,               ❑    Unliquidated
       including this creditor and its relative      •    Disputed
       priority.
       See Footnotes to
       Schedule D

 2.9   Mathias Matoian                                Describe debtor's property that is subject to a lien                       $252,898.93                 unknown
       Creditor's Name                                Purported grant of security interest in certain
                                                      intellectual property
       2603 Lake Van Ness Circle
       Fresno, CA 93711-7024
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
       mmatoian@okproduce.com                        •    No
       Creditor's email address, if known            ❑ Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                        •    No
       See Footnotes to                                                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number


       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ❑    No                                       ❑    Contingent
           Yes. Specify each creditor,               ❑    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       See Footnotes to
       Schedule D

 2.1
 0     Millenium III (aka M3T)                        Describe debtor's property that is subject to a lien                     $1,386,646.13                 unknown
       Creditor's Name                                Purported grant of security interest in certain
                                                      intellectual property
       59-236 Kanaloa Way
       Kamuela, HI 96743
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security

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 Debtor        VIATRONIX INCORPORATED                                                                  Case number (if know)
               Name
                                                      Is the creditor an insider or related party?
        pkauffman808@gmail.com                        ❑ No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        [i] No
        See Footnotes to                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ❑ No                                          ❑ Contingent
        VI Yes. Specify each creditor,                ❑ Unliquidated
        including this creditor and its relative      [i] Disputed
        priority.
        See Footnotes to
        Schedule D

 2.1    Nadarasa Visveshwara
 1      Trus                                          Describe debtor's property that is subject to a lien                      $67,169.78    unknown
        Creditors Name                                Purported grant of security interest in certain
        Nadarasa Visveshwara IRA                      intellectual property
        2776 W. Wrenwood Avenue
        Fresno, CA 93711
        Creditors mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        nvish@comcast.net                                 No
        Creditor's email address, if known            ❑ Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        [i] No
        See Footnotes to                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ❑ No                                           ❑ Contingent
           Yes. Specify each creditor,                ❑ Unliquidated
       including this creditor and its relative         Disputed
       priority.
       See Footnotes to
       Schedule D

 2.1
 2     Paul W. Kauffman                               Describe debtor's property that is subject to a lien                     $206,048.77    unknown
       Creditors Name                                 Purported grant of security interest in certain
                                                      intellectual property
       59-236 Kanaloa Way
       Kamuela, HI 96743
       Creditors mailing address                      Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
       pkauffman808@gmail.com                        ❑ No
       Creditor's email address, if known            lZ Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                           No
       See Footnotes to                               ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




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 Debtor        VIATRONIX INCORPORATED                                                                  Case number (if know)
               Name

        ❑ No                                          ❑ Contingent
            Yes. Specify each creditor,               ❑ Unliquidated
        including this creditor and its relative      [i] Disputed
        priority.
        See Footnotes to
        Schedule D

 2.1
 3      Stephen J. Luczo, Trustee                     Describe debtor's property that is subject to a lien                     $742,571.11    unknown
        Creditor's Name                               Purported grant of security interest in certain
        Stephen J. Luczo Rev. Tru                     intellectual property
        P.O. Box 67249
        Scotts Valley, CA
        95067-7249
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        pbarrett@jpb-cpa.com                          [kJ No
        Creditor's email address, if known            ❑ Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        [i-ei No
        See Footnotes to                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
       ❑ No                                           ❑ Contingent
           Yes. Specify each creditor,                ❑ Unliquidated
       including this creditor and its relative         Disputed
       priority.
        See Footnotes to
        Schedule D


 2.1
 4     Paul W. Kauffman, Trustee                      Describe debtors property that is subject to a lien                      $474,907.72    unknown
        Creditors Name                                Purported grant of security interest in certain
       Paul W. Kauffman Trust                         intellectual property
       59-236 Kanaloa Way
       Kamuela, HI 96743
        Creditors mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
       pkauffman808@gmail.com                         ❑ No
       Creditors email address, if known              WI Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                           No
       See Footnotes to                               ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Schedule D
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
       ❑ No                                          ❑ Contingent
           Yes. Specify each creditor,               ❑ Unliquidated
       including this creditor and its relative      VI Disputed
       priority.
       See Footnotes to
       Schedule D


 2.1
 5   Thomas P.Stafford                                Describe debtor's property that is subject to a lien                $2,426,895.38       unknown



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  Debtor        VIATRONIX INCORPORATED                                                                  Case number (if know)
                Name
         Creditor's Name                               Purported grant of security interest in certain
         3000 United Founders Blvd                     intellectual property
         Suite 103G
         Oklahoma City, OK 73112
         Creditors mailing address                     Describe the lien
                                                       Non-Purchase Money Security
                                                       Is the creditor an insider or related party?
        tpstaffordl®att.net                            ❑ No
        Creditors email address, if known                  Yes
                                                       Is anyone else liable on this claim?
        Date debt was incurred                        IZ No
        See Footnotes to                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Schedule D
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ❑ No                                          ❑ Contingent
            Yes. Specify each creditor,               ❑ Unliquidated
        including this creditor and its relative        Disputed
        priority.
        See Footnotes to
        Schedule D

 2.1
 6      Thomas Ruthinoski                             Describe debtor's property that is subject to a lien                        $6,593.49    unknown
        Creditor's Name                               Purported grant of security interest in certain
                                                      intellectual property
        1755 Yennecott Drive
        Southold, NY 11971
        Creditors mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
        truthinoski@gmail.com                         ❑ No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        VI No
        See Footnotes to                              ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
       ❑ No                                           ❑ Contingent
           Yes. Specify each creditor,                ❑ Unliquidated
       including this creditor and its relative       511 Disputed
       priority.
        See Footnotes to
        Schedule D

 2.1
 7      William Bond                                  Describe debtor's property that is subject to a lien                      $539,389.42    unknown
        Creditor's Name                               Purported grant of security interest in certain
                                                      intellectual property
        261 Tollgate Blvd
        Islamorada, FL 33036
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
       wcb007a@gmail.com                              ❑ No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                           No
       See Footnotes to                               ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
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       Last 4 digits of account number

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 Debtor        VIATRONIX INCORPORATED                                                                  Case number (if know)
               Name


        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ❑ No                                          ❑ Contingent
        91 Yes. Specify each creditor,                ❑ Unliquidated
        including this creditor and its relative         Disputed
        priority.
        See Footnotes to
        Schedule D
  2.1
  8      William and Ann Bond                          Describe debtor's property that is subject to a lien                      $93,826.85           unknown
         Creditor's Name                               Purported grant of security interest in certain
                                                       intellectual property
         261 Tollgate Blvd
         Islamorada, FL 33036
         Creditor's mailing address                    Describe the lien
                                                       Non-Purchase Money Security
                                                       Is the creditor an insider or related party?
         wcb007a@gmail.com                            ❑ No
         Creditor's email address, if known           RI Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                          No
         See Footnotes to                             ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Schedule D
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        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ❑ No                                          ❑ Contingent
            Yes. Specify each creditor,               ❑ Unliquidated
        including this creditor and its relative      WI Disputed
        priority.
        See Footnotes to
        Schedule D


      Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $11,194,621.58

 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




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